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             June 30, 2005

             William G. Kelly

             Re: Talc and Ovarian Carcinogenesis

             Dear Bill:

             Per your request, I have undertaken and completed a systematic discovery of medical
             scientific experts on the epithelial ovarian carcinogenesis. The objectives of this task
             were a) to identify such individuals from several disciplines who could be responsible for
             reviewing the body of scientific literature on talc and ovarian carcinogenesis in order to
             arrive at an independent and objective conclusion as to whether talc is a likely or definite
             ovarian carcinogen and b) to form a "priority list" within each discipline based on level
             of expertise and reputation, research interest and likelihood of objectivity.

             Experts were sought in the disciplines of Epidemiology (preferably with background in
             Biostatistics), Molecular & Cell Biology of Carcinogenesis (emphasizing in vivo
             models). Pathology, Gynecologic Oncology and General Gynecology. Since all
             gynecologic oncologists are also board certified in general gynecology and consolidation
             of manpower is an important consideration, general gynecologists without expertise in
             gynecologic oncology or the other relevant fields, were not sought.

             In addition to personal knowledge of such experts. The National Center for
             Biotechnology Information (http://www.ncbi.nlm.nih.gov/) was used to perform a
             comprehensive search. Complete and selected bibliographies were then reviewed to
             identify individuals with appropriate expertise. Some individuals were also identified
             from the Committee on Cancer Prevention and Control of the Gynecologic Oncology
             Group (http://www.gog.org/) as this important national cooperative group committee has
             had particular interest in mechanisms of ovarian carcinogenesis and primary prevention.
             Of the more than two hundred individuals initially identified and screened, a final list of
             21 was generated. Some of these thought investigators/thought leaders have expertise in
             more than one discipline. I have provided tables for each discipline with a rank order and
             rationale for the rank order below.




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             Epidemiology


              Rank Last              First      Degree    Title                           Institution          URL
                                                          Senior Investigator, Chief -
                                                          Hormonal and Reproductive
                  1 Brinton          Louise     PhD       Epidemiology Branch             NCI                  http://dceg.cancer.gov/people/BrintonLouise.htm
                                                          Unit Chief, Department of
                                                          Obstetrics, Gynecology &        Brigham &
                  2 Cramer           Daniel     MD        Reproductive Biology            Women's Hospital      http://www.bnahamandwomcns.ora/WRHRproi
                                                MD,
                  3 Risch            Harvey     PhD       Professor, Epidemiology         Yale University      ..\..\PDF\Personal\Risch H Biblio.pdf
                                                                                          Harvard School of
                  4 Harlow           Bernard PhD          Professor, Epidemiology         Public Health        Bernard Harlow. Associate Professor in the Depa
                                             MD,          Professor of Medicine,          Harvard Medical
                  5 Colditz          Graham PhD           Epidemiologist                  School               Channing Laboratory - Graham A. Colditz. MD.
                                                          Associate Professor of          Harvard Medical
                  6 Hankinson        Susan      ScD       Medicine, Epidemiologist        School               Channing Laboratory - Susan E. Hankinson. ScD
                                                                                          American Cancer
                  7 Rodriguez        Carmen               Senior Epidemiologist           Society
                                                MD,       Senior Member, Population       Fox Chase Cancer
                  8 Daly             Mary       PhD       Science Division                Center               Fox Chase Cancer Center: Mary B. Daly. M.D.. ]

             Rationale for Rank Order (first three candidates):

             Louise Brinton is a highly regarded epidemiologist with an important administrative position within NCI, who is highly
             prolific in epidemiology in general and in the epidemiology of ovarian cancer in particular. She has not participated in any
             studies related to talc exposure that I can tell, so would likely remain unbiased in this regard. She is also a member of the
             GOG CPC.

             Daniel Cramer is an epidemiologist who I believe received his medical subspecialty training in Obstetrics & Gynecology. He
             is a highly regarded ovarian cancer epidemiologist with a strong publication list in this area. He was a key investigator in the
             prospective cohort study of talc exposure and ovarian cancer development. This is the most scientifically reputable
             epidemiologic study in this area. A key factor in the selection of Dr. Cramer to the short list is his combined experience in
             gynecology and ovarian cancer epidemiology.

             Harvey Risch is an MD, PhD, Professor of Epidemiology at Yale and a world renowned ovarian cancer epidemiologist. Based
             on his selected publication list, he is also likely to remain unbiased. I have had personal contact with Dr. Risch.




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             Molecular & Cell Biology of Carcinogenesis


              Rank       Last        First    Degree      Title                               Institution                      City           State   URL
                                                          Professor of Obstetrics &
                     1   Auersperg   Nelly    MD, PhD     Gynecology                          University of British Columbia   Vancouver              Interdisciplinary >
                     2   Godwin      Andrew   PhD         Member, Medical Science Division    Fox Chase Cancer Center          Philadelphia   PA      Fox Chase Cane
                     3   Hamilton    Thomas   PhD         Senior Member, Medical Division     Fox Chase Cancer Center          Philadelphia   PA      Fox Chase Cane
                     4   Bell        Debra    MD          Associate Professor of Pathology    Harvard Medical School           Boston         MA      Pathology Servic
                                                                                              M.D. Anderson Cancer
                     5   Bast        Robert   MD          Professor                           Center                           Houston        TX      Robert C. Bast,.
                                                          Senior Member, Population Science
                     6   Testa       Joseph   PhD         Division                            Fox Chase Cancer Center          Philadelphia   PA      Fox Chase Cane
                                                          Chairman, Department of Molecular   M.D. Anderson Cancer
                     7   Mills       Gordon   MD, PhD     Therapeutics                        Center                           Houston        TX      M. D. Anderson <

             Rationale for Rank Order (first three candidates):

             Nelly Auersperg is one of the most accomplished and well renowned reproductive scientists in the area of ovarian
             carcinogenesis and the biology of the surface ovarian epithelium. She is number one, hands down. She is also trained in
             Obstetrics & Gynecology so functionally covers two categories..

             Andrew Godwin is the most accomplished current basic scientist in the area of ovarian carcinogenesis. He is a close colleague
             and disciple of Thomas Hamilton. His work is truly cutting edge.

             Thomas Hamilton is a pioneer in the biology of ovarian carcinogenesis and has experience in several in vivo model systems
             (similar to Dr. Godwin). He is also one of the only scientist to publish on the basic scientific relationship between talc and
             ovarian cancer.




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             Pathology


              Rank       Last      First      Degree   Title                               Institution              City         State   URL
                                                       Professor of Pathology &
                     1   Kurman    Robert     MD       Obstetrics/Gynecology               Johns Hopkins            Baltimore    MD      Gynecologic Pathology
                     2   Bell      Debra      MD       Associate Professor of Pathology    Harvard Medical School   Boston       MA      Pathology Service at MGI-
                                                       Professor of Pathology & Internal
                     3   Cho       Kathleen   MD       Medicine                            University of Michigan   Ann Arbor    Ml      University of Michigan - Pi
                                                       Assistant Professor, Molecular      Massachusetts General
                     4   Orsulic   Sandra     PhD      Pathology                           Hospital                 Boston       MA      Pathology Service at MGI-

             Rationale for Rank Order:

             Robert Kurman is a double boarded pathologists and obstetrician-gynecologist who is an icon of ovarian cancer pathology.
             His CV speaks for itself

             Debra Bell is a molecular pathologist with expertise on carcinogenesis of epithelial ovarian tumors. She is Associate Professor
             in the Department of Pathology at Harvard Medical School and trained under Dr. Scully, the father of ovarian pathology.

             Dr. Cho is a Professor of both Pathology and Internal Medicine with a large body of experience in ovarian cancer pathology.
             She has several basic scientific interests including the molecular classification of ovarian carcinomas. I know Dr. Cho
             personally and she is not only well respected, but well spoken.

             Dr. Orsulic is also a molecular pathologist from a good institution, with a more limited C.V. than Dr. Bell, but with important
             expertise in mouse models of ovarian carcinogenesis.




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             Gynecologic Oncology


              Rank       Last       First    Degree     Title                     Institution                        City     State   URL
                                                        Professor of Obstetrics
                     1   Berchuck   Andrew   MD         & Gynecology              Duke University                    Durham   NC      Duke University IGSP Site -- Ar
                                                        Associate Professor,
                                             MD,        Obstetrics &
                                             DVM,       Gynecology,
                     2   Brewer     Molly    MS         Gynecologic Oncology      University of Arizona              Tuscon   AZ      University of Arizona, Departme
                                                        Associate Professor,
                                                        Obstetrics &
                                                        Gynecology,
                     3   Burger     Robert   MD         Gynecologic Oncology      University of California, Irvine   Orange   CA      ROBERT ALLEN BURGER. MC

             Any of these would be excellent, though I am obviously biased in including myself in this list.

             Andrew Berchuck is probably the most highly regarded combination of gynecologic oncologist and basic ovarian cancer
             researcher. Although most of his work has dealt with ovarian carcinogenesis as it relates to molecular genetics, he is a key
             thought leader in the general subject of epithelial ovarian cancer pathogenesis. He is also president-elect for the Society of
             Gynecologic Oncologists and a personal colleague. He is not only brilliant and analytical, but extremely classy and well
             spoken individual.

             Molly Brewer is a gynecologic oncologist at U of A with a focused research interest in precursors of ovarian carcinoma
             development. She is highly involved in primary prevention studies.

             Robert Burger is a gynecologic oncologist with a research program dedicated to ovarian cancer pathogenesis and therapeutics.
             He is a member of several important committees in the Gynecologic Oncology Group, including the Ovarian Cancer
             Committee, the Committee on Experimental Medicine, and the Developmental Therapeutics Committee. He has an academic
             interest in ovarian carcinogenesis and prevention, including multiple invited lectures on this subject and organizing and
             directing a symposium on this subject at his local NCI comprehensive cancer center.




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  TITLE 21--FOOD AND DRUGS
  CHAPTER I--FOOD AND DRUG ADMINISTRATION
  DEPARTMENT OF HEALTH AND HUMAN SERVICES
  SUBCHAPTER G--COSMETICS
  PART 740 -- COSMETIC PRODUCT WARNING STATEMENTS
  Subpart A--General
   Sec. 740.1 Establishment of warning statements.

   (a) The label of a cosmetic product shall bear a warning statement
   whenever necessary or appropriate to prevent a health hazard that may
   be associated with the product.
   (b) The Commissioner of Food and Drugs, either on his own initiative
   or on behalf of any interested person who has submitted a petition,
   may publish a proposal to establish or amend, under subpart B of this
   part, a regulation prescribing a warning for a cosmetic. Any such                                                Plaintiff's Exhibit




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   petition shall include an adequate factual basis to support the                                                          No.
   petition, shall be in the form set forth in part 10 of this chapter,
   and will be published for comment if it contains reasonable grounds                                                  P-324
   for the proposed regulation.
   [40 FR 8917, Mar. 3, 1975, as amended at 42 FR 15676, Mar. 22, 1977]


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